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                                                                  03/28/24Page
                                                                            Page
                                                                               1 of
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Southern District
                                                     __________  DistrictofofNew York
                                                                              __________

ANAYA WASHINGTON, individually and on behalf of                          )
         all others similarly situated,                                  )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                            Civil Action No. 1:24-cv-02327
                                                                         )
     REYNOLDS CONSUMER PRODUCTS LLC,                                     )
                                                                         )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Reynolds Consumer Products LLC
                                           1900 West Field Court
                                           Lake Forest, Illinois 60045




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: George V. Granade
                                           Reese LLP
                                           8484 Wilshire Boulevard, Suite 515
                                           Los Angeles, California 90211



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:           3/28/2024                                                                   /s/ P. Canales
                                                                                           Signature of Clerk or Deputy Clerk
